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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                         Plaintiff,               )
                                                  )                  8:06CR243
                vs.                               )
                                                  )                     ORDER
ANTONIO THOMAS,                                   )
                                                  )
                         Defendant.               )

        Defendant Antonio Thomas appeared before the court on Friday, March 5, 2010 on an Amended
Petition for Warrant or Summons for Offender Under Supervision [161]. The defendant was represented
by Assistant Federal Public Defender Jessica P. Douglas and the United States was represented by
Assistant U.S. Attorney Douglas R. Semisch. Through his counsel, the defendant waived his right to a
probable cause hearing on the Report pursuant to Fed. R. Crim. P. 32.1(a)(1). The government moved
for detention. A detention hearing was held. Since it is the defendant’s burden under 18 U.S.C. § 3143
to establish by clear and convincing evidence that he is neither a flight risk nor a danger to the community,
the court finds the defendant has failed to carry his burden and that he should be detained pending a
dispositional hearing before Judge Smith Camp.
        I find that the Report alleges probable cause and that the defendant should be held to answer for
a final dispositional hearing before Judge Smith Camp.
        IT IS ORDERED:
        1.      A final dispositional hearing will be held before Judge Laurie Smith Camp in Courtroom
No.2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on April
5, 2010 at 11:00 a.m. Defendant must be present in person.
        2       The defendant, Antonio Thomas, is committed to the custody of the Attorney General or
his designated representative for confinement in a correctional facility;
        3.      The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel; and
        4.      Upon order of a United States court or upon request of an attorney for the government,
the person in charge of the corrections facility shall deliver defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.
        DATED this 5th day of March, 2010.

                                                           BY THE COURT:

                                                           s/ F. A. Gossett
                                                           United States Magistrate Judge
